           Case 1:15-cr-00028-DAD-BAM Document 13 Filed 05/01/15 Page 1 of 3



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 6 Attorneys for the
    United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-CR-00028-AWI-BAM (001)

12                                 Plaintiff,           STIPULATION AND PROTECTIVE ORDER
                                                        BETWEEN THE UNITED STATES AND THE
13                          v.                          DEFENDANT VIVIAN MARIE WILLIAMS

14   VIVIAN MARIE WILLIAMS, and
     DARRELL LEMONT MORRIS,
15

16                                 Defendants.

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18          WHEREAS, the discovery in this case is voluminous and contains a large amount of personal
19 information including but not limited to Social Security numbers, dates of birth, driver’s license

20 numbers, bank account numbers, telephone numbers, and residential addresses (“Protected

21 Information”); and

22          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
23 unauthorized disclosure or dissemination of this information to anyone not a party to the court

24 proceedings in this matter;

25          WHEREAS, the parties agree that entry of a stipulated protective order is appropriate.
26          NOW, THEREFORE, defendant VIVIAN MARIE WILLIAMS, by and through her counsel of
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           Case 1:15-cr-00028-DAD-BAM Document 13 Filed 05/01/15 Page 2 of 3



 1 record (“Defense Counsel”), and plaintiff the United States of America, by and through its counsel of

 2 record, hereby agree and stipulate as follows:

 3          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 4 Criminal Procedure, and its general supervisory authority.

 5          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 6 part of discovery in this case (hereafter, collectively known as “the discovery”).

 7          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 8 documents that contain Protected Information with anyone other than Defense Counsel and designated
 9 defense investigators and support staff. Defense Counsel may permit a defendant to view unredacted

10 documents in the presence of her attorney, defense investigators, and support staff. The parties agree

11 that Defense Counsel, defense investigators, and support staff shall not allow either defendant to copy

12 Protected Information contained in the discovery. The parties agree that Defense Counsel, defense

13 investigators, and support staff may provide the defendant with copies of documents from which

14 Protected Information has been redacted.

15          4.      The discovery and information therein may be used only in connection with the litigation

16 of this case and for no other purpose. The discovery is now and will forever remain the property of the

17 United States Government. Defense Counsel will return the discovery to the Government or certify that

18 it has been shredded at the conclusion of the case.

19          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

20 ensure that it is not disclosed to third persons in violation of this agreement.

21          6.      Defense Counsel shall be responsible for advising the defendant, employees, and other

22 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

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           Case 1:15-cr-00028-DAD-BAM Document 13 Filed 05/01/15 Page 3 of 3



 1         7.      In the event that either defendant substitutes counsel, undersigned Defense Counsel

 2 agrees to withhold discovery from new counsel unless and until substituted counsel agrees also to be

 3 bound by this Order.

 4         IT IS SO STIPULATED.

 5 Dated: April 23, 2015                                 BENJAMIN B. WAGNER
                                                         United States Attorney
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 7                                                       /s/ MARK J. McKEON
                                                         MARK J. MCKEON
 8                                                       Assistant United States Attorney
 9
     Dated: April 27, 2015                               /s/ ERIN SNIDER
10                                                       ERIN SNIDER
                                                         Counsel for Defendant
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13                                                 ORDER
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15 IT IS SO ORDERED.

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        Dated:    April 30, 2015                            /s/ Barbara A. McAuliffe             _
17                                                   UNITED STATES MAGISTRATE JUDGE
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